       Case 2:09-cr-00004-RHW     ECF No. 68    filed 05/11/09   PageID.161 Page 1 of 2



 1
 2
 3
 4
 5
 6                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WASHINGTON
 7
 8    UNITED STATES OF AMERICA,
 9             Plaintiff,                         NOS. CR-08-151-RHW-1
10                                                     CR-08-152-RHW-1
               v.                                      CR-09-004-RHW-1
11                                                     CR-09-004-RHW-2
      ABEL MEDINA-QUINTERO and
12    ALFONSO FLORES-RAMIREZ,                     ORDER GRANTING
                                                  DEFENDANTS’ MOTION TO
13             Defendants.                        CONTINUE PRETRIAL AND
                                                  TRIAL AND EXCLUDING TIME
14                                                UNDER SPEEDY TRIAL ACT

15
           A pretrial conference was held in the above-captioned matters on May 7,
16
     2009. Defendant Medina-Quintero was present and represented by Jaime Hawk;
17
     Defendant Flores-Ramirez was represented by Jeffrey Niesen; the Government was
18
     represented by Assistant United States Attorney Russell Smoot. Before the Court
19
     are Defendant Medina-Quintero’s Motions for Extension of Time (Ct. Recs. 57 and
20
     62) and Motions to Expedite Hearing thereupon (Ct. Recs. 58 and 63), and
21
     Defendant Flores-Ramirez’s Motion to Sever or Redact (Ct. Rec. 55). The Court
22
     granted Defendants’ unopposed motions for the reasons set forth at the hearing.
23
           At the hearing, Defendants orally moved for a continuance of the trial in
24
     order to continue negotiations towards a resolution, and to investigate and prepare
25
     for trial in the event those negotiations fail. The Government did not object to a
26
     continuance. The Court conducted a colloquy with both Defendants regarding their
27
     rights under the Speedy Trial Act and Defendants waived those rights.
28
     ///

     ORDER GRANTING DEFENDANTS’ MOTION TO CONTINUE * 1
       Case 2:09-cr-00004-RHW          ECF No. 68   filed 05/11/09   PageID.162 Page 2 of 2



 1          Accordingly, IT IS HEREBY ORDERED:
 2          1. Defendant Medina-Quintero’s Motions for Extension of Time (Ct. Recs.
 3 57 and 62) and Motions to Expedite Hearing thereupon (Ct. Recs. 58 and 63) are
 4 GRANTED.
 5          2. Defendant Flores-Ramirez’s Motion to Sever or Redact (Ct. Rec. 55) is
 6 GRANTED. The Government is directed to redact any material as required by
 7 Bruton v. United States, 391 U.S. 123 (1967). Defendant Flores-Ramirez may
 8 renew this motion if after he has received the redacted materials he continues to
 9 believe there may be a Bruton violation.
10          3. The jury trial set for March 26, 2009, in Cause Nos. CR-09-004-RHW-1,
11 CR-09-004-RHW-2, CR-08-151-RHW-1, and CR-08-152-RHW-1, is stricken. A
12 new jury trial for those four matters is set for September 8, 2009, in Spokane,
13 Washington. Counsel shall meet in chambers at 8:30 a.m. Jury selection shall begin
14 at 9:00 a.m.
15          3. A pretrial conference is set for July 30, 2009, at 9:00 a.m., in Spokane,
16 Washington.
17          4. All pretrial motions shall be filed on or before July 7, 2009.
18          5. Pursuant to 18 U.S.C. § 3161(h)(8)(A), the time between May 26, 2009,
19 the current trial date, until September 8, 2009, the new trial date, is declared
20 excludable for purposes of the Speedy Trial Act. The Court finds that the
21 continuance is necessary to allow Defendants time to fully investigate and prepare
22 for trial. Defendants’ interest in this investigation and preparation outweighs the
23 interest of the public and Defendants in a speedy trial.
24          IT IS SO ORDERED. The District Court Executive is directed to enter this
25 order and to provide copies to counsel.
26          DATED this 11th day of May, 2009.
27                                      S/ Robert H. Whaley
                                      ROBERT H. WHALEY
28                                Chief United States District Judge
     Q:\CRIMINAL\2009\09-0004\cont2.ord.wpd

     ORDER GRANTING DEFENDANTS’ MOTION TO CONTINUE * 2
